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6    Attorneys for Creditor
     US Bank Trust NA as trustee of the Dwelling Series IV Trust
7
                              UNITED STATES BANKRUPTCY COURT
8
                        SOUTHERN DISTRICT OF CALIFORNIA – SAN DIEGO
9
     In re:                                      )       Case No.: 21-00386-LA13
10                                               )
     Anthony Leo Gril                            )       GB-1
11                                               )
                         Debtors.                )       Chapter 13
12                                               )
                                                 )       OBJECTION TO CONFIRMATION OF
13                                               )       DEBTOR’S PLAN
                                                 )
14                                               )
                                                 )       Property: 4444 West Point Loma Blvd Unit 1
15                                               )       San Diego, CA 92107
                                                 )
16                                               )
                                                 )
17                                               )
                                                 )
18                                               )
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19                                               )
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20                                               )
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21                                               )       The Honorable Judge Louise DeCarl Adler

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1    TO THE HONORABLE JUDGE LOUISE DECARL ADLER, UNITED STATES

2    BANKRUPTCY JUDGE, THE DEBTORS, THEIR ATTORNEY OF RECORD AND THE

3    CHAPTER 13 TRUSTEE, DAVID L SKELTON:

4            US Bank Trust NA as trustee of the Dwelling Series IV Trust, (“Creditor”), a secured

5    creditor of the above-named Debtors hereby objects to the confirmation of Debtors’ Chapter 13

6    Plan (the “Plan”) on the grounds that the Plan does not comply with the provisions of Chapter 13

7    of Title 11, United States Code, and with other applicable provisions of said Title 11.

8            This objecting Creditor holds a deed of trust on the Debtor’s real property commonly

9    described as 4444 West Point Loma Blvd Unit, San Diego, CA 92107 (the “Property”), which

10   is Debtors’ principal residence. Creditor is entitled to receive payments pursuant to a Promissory

11   Note which is secured by a Deed of Trust on the subject property As of 1/31/21, the approximate

12   amount in default was $22,483.49, as will be described in the forthcoming Proof of Claim filed

13   by Creditor; Creditor files this Objection to protect its interests.

14                                                          I

15                                                 ARGUMENT

16       Application of the provisions of 11 United States Code Section 1325 determines when a Plan

17   shall be confirmed by the Court. Based on the foregoing, as more fully detailed below, the Plan

18   cannot be confirmed as proposed because the Plan does not comply with the provisions of

19   Chapter 13 of the United States Bankruptcy Code.

20       A. THE PLAN IS INTERNALLY INCONSISTENT

21       Section 3.5 of the Plan provides that Creditor’s claim is intentionally excluded from the plan.

22   Section 3.1 of the Plan lists Creditor’s Claim and provides a treatment for it. Because the claim is

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1    both treated and excluded under the plan the plan is internally inconsistent and cannot be

2    confirmed

3

4          B. IMPERMISSIBLY MODIFIES CREDITOR”S RIGHTS
           11 U.S.C. §1322(b)(2)
5
             The Plan modifies the rights of a creditor whose claim is secured only by a security
6
     interest in real property that is Debtors’ principal residence in violation of 11 U.S.C. §1322(b)(2)
7
     by not providing for payments towards Creditor’s arrears. Section 3.1 of The Debtors’ Modified
8
     Plan, which governs treatment of secured claims, lists Creditor’s claim as having $0.00 in
9
     arrears. The actual arrears are approximately $22,483.49, as will be listed in creditor’s
10
     forethcoming proof of claim. The Debtors must provide for the cure of Creditor’s arrears.
11
           C. DOES NOT MEET FULL VALUE REQUIREMENT
12            11 U.S.C. §1325(a)(5)(B)(ii)

13           The Debtors’ Plan does not provide for cure of the pre-petition arrears owed to

14   Creditor. The pre-petition arrears owed to Creditor are no less than approximately $22,483.49.

15   Debtors’ Plan does not provide for payment of any arrears owed to Creditor in Section 3.1 of

16   the plan. Accordingly, Debtors will be required to amend their Plan to fully provide for the

17   pre-petition arrears owed to Creditor. Since Debtors’ Plan does not provide for cure of the

18   default of the pre-petition arrears owed to Creditor, the Plan does not meet the full value

19   requirement and fails to satisfy 11 U.S.C. §1325(a)(5)(B)(ii).

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1      WHEREFORE, Creditor objects to confirmation of the Plan and requests as follows:

2            a.   Confirmation of the Proposed Chapter 13 Plan be denied; or, in the alternative,

3            b.   Debtor’s plan be amended to provide for the full cure of creditor’s arrears.

4            c.   For such other relief as this Court deems proper.

5

6    DATED: March 11, 2021                      GHIDOTTI BERGER

7
                                                By: /s/ Adam Thursby Esq._______
8                                               Adam Thursby, Esq.
                                                Attorney for Deutsche Bank National Trust
9                                               Company, as Certificate trustee on Behalf of Bosco
                                                Credit II Trust Series 2010-1
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CSD 3010 [07/01/18]
Name, Address, Telephone No. & I.D. No.
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       UNITED STATES BANKRUPTCY COURT
            SOUTHERN DISTRICT OF CALIFORNIA
       325 West F Street, San Diego, California 92101-6991

 In Re
Anthony Leo Gril
                                                                          BANKRUPTCY NO.     21-00386
                                                        Debtor.



                                                                          ADVERSARY NO.      GB-1
                                                        Plaintiff(s)
 v.


                                                        Defendant(s)



                                                    PROOF OF SERVICE

          I, Jeremy Romero                               am a resident of the State of California, over the age of 18 years,
 and not a party to this action.

          On 3/27/2020                               , I served the following documents:



         Objection to Confirmation of Debtor's Plan




  1.       To Be Served by the Court via Notice of Electronic Filing (“NEF”):

          Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the
  court via NEF and hyperlink to the document. On 3/12/2021                     , I checked the CM/ECF docket for
  this bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
  Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:
  Debtor's Counsel: Maria J. Nunez, mnunez@nunezlawfirm.com,anunez@nunezlawfirm.com




                   Chapter 7 Trustee:



                    For Chpt. 7, 11, & 12 cases:        For ODD numbered Chapter 13 cases:          For EVEN numbered Chapter 13 cases:

                    UNITED STATES TRUSTEE               THOMAS H. BILLINGSLEA, JR., TRUSTEE         DAVID L. SKELTON, TRUSTEE
                    ustp.region15@usdoj.gov             Billingslea@thb.coxatwork.com               admin@ch13.sdcoxmail.com
                                                                                                    dskelton13@ecf.epiqsystems.com



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  2.      Served by United States Mail:

         On 3/12/2021                       , I served the following person(s) and/or entity(ies) at the last known
  address(es) in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the
  United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:

Debtor: Anthony Leo Gril, 4444 West Point Loma Blvd, Unit 1, San Diego, CA 92107




  3.      Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

         Under Fed.R.Civ.P.5 and controlling LBR, on                                  , I served the following person(s)
  and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
  transmission, by overnight delivery and/or electronic mail as follows:




          I declare under penalty of perjury under the laws of the United States of America that the statements made
          in this proof of service are true and correct.



          Executed on 3/12/2021                               /s/ Jeremy Romero
                       (Date)                                  (Typed Name and Signature)

                                                              1920 Old Tustin Ave.
                                                               (Address)

                                                              Santa Ana, CA 92705
                                                               (City, State, ZIP Code)




CSD 3010
